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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
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                                                :
GARY D. ZEIGLER,                                :       CASE NO. 5:04-CV-2417
                                                :
                Plaintiff,                      :
                                                :
vs.                                             :       OPINION AND MEMORANDUM
                                                :       [Resolving Doc. Nos. 4, 5, 11]
DANIEL BEERS, et al.,                           :
                                                :
                Defendants.                     :
                                                :
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JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

       Pending before the Court are two motions to remand from the State of Ohio and the Barberton

Rescue Mission, Inc. (“Mission”). [Doc Nos. 4, 5]. The United States opposed the motions to remand.

[Doc. No. 7]. The Mission filed a motion for stay until determination of the issue of remand. [Doc. 11].

  For the following reasons, the Court GRANTS the motions to remand and remands this case to the

Court of Common Pleas, Stark County, Ohio. The Court accordingly DISMISSES the Mission’s motion

to stay as moot.

                                         I. BACKGROUND

       On September 24, 2003, Gary Zeigler, as the Treasurer of Stark County, filed this case in the

Court of Common Pleas, Stark County, Ohio. Case No. 2003-CV-3118. Plaintiff filed the complaint in

a foreclosure action seeking taxes accrued on the property located at 5539 Erie Avenue NW, Canal

Fulton, Ohio 444614. The complaint named Daniel Beers and Theodora Beers (“the Beers”)as


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defendants, who were the owners of the property. Aside from the Beers, Plaintiff Ziegler named ten other

defendants who may claim to have a lien upon the premises, including the Mission and the United States.

         Plaintiff Ziegler alleges that Stark County’s lien on the property for real estate taxes is primary to

the interests of other lien holders. On September 30, 2003, Plaintiff Ziegler served the United States by

certified mail.

         On November 7, 2003, the United States appeared in the action, and it filed an answer in the Court

of Common Pleas, Stark County. In its answer, the United States admitted that it had an interest in the

property. The United States objected to the release of any lien held by the United States, and the United

States reserved its right to redeem pursuant to 28 U.S.C. § 2410(c). Notably, at no time did the United

States assert the defense of insufficiency of service of process as required pursuant to Ohio Rule of Civil

Procedure 12(b)(5).

         On November 11, 2003, the Mission filed its answer and cross-claim. The Mission claimed that

it had a mortgage of $150,000 on the property. The Mission requested that the mortgage be declared the

first and best lien.

         On November 19, 2003, the United States filed an answer to the Mission’s cross-claim. Again,

the United States did not raise the defense of insufficiency of service of process. Instead, the United States

raised a defense regarding 28 U.S.C. § 2410(c), arguing that the Mission failed to satisfy the statutory

pleading requirements regarding liens held by the United States.

         On January 5, 2004, the Court granted Plaintiff Ziegler’s motion for summary judgment, finding that

the Stark County’s liens had priority over the liens or interests of the other Defendants.



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        On February 3, 2004, the Mission filed a motion for leave to amend its cross-claim. The Mission

stated that “[p]laintiff and the Mission each seek foreclosure potentially adverse to the United States

Government’s interest relating to the subject real property. There can be no disagreement that the United

States Government has appeared, answered, and admitted that it has an interest in the property in the

nature of tax liens.”

        On February 17, 2004, the Mission filed an amended cross-claim, which included a description

of the four liens that the United States held as required by 28 U.S.C. § 2410(c).

        On February 23, 2004, the state court entered a judgment decree. In its findings, the state court

stated: “The court finds that it has jurisdiction over the persons and subject matter of this action. The court

further finds that all parties in interest have been duly served with summons according to law and are

properly before this court.” The judgment entry bears the signature of Assistant United States Attorney

Steven Paffilas.

        Subsequently, the underlying property at issue was sold at Sheriff’s sale, and the proceeds paid

the court costs, sheriff fees, and the Stark County Treasurer lien.

        On November 4, 2004, the state court ordered the parties to brief the priority of the liens. The trial

court indicated that it would then determine the priority of liens for the remaining proceeds from the judicial

sale.

        On November 22, 2004, the United States filed a motion for supplemental judgment entry and

amended order of distribution. The United States also responded to the Mission’s summary judgment

motion. The State of Ohio responded to the Mission’s summary judgment motion and briefed the issue of



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priority.

            In their briefs, the United States and State of Ohio each conceded that the Mission was next in

priority after the Stark County Treasurer. However, the United States and the State of Ohio disagreed

about which lien had the next resulting priority.

            The United States asserted that the Beers owed $1,307,303.63 for unpaid income taxes. The

United States argued that, per the preliminary judicial report, the United States’ liens should have priority,

after the liens of the Stark County Treasurer and the Mission.

            In contrast, the State of Ohio argued that its lien has priority over those of the United States. The

State of Ohio contended that it and the Mission won a jury verdict in an action against the Beers in 2000

in the Court of Common Pleas, Summit County, for breach of various fiduciary obligations. The State of

Ohio asserts that its constructive trust covers the assets that the Beers usurped, including the land at issue

in this action. Contrary to the United States’ assertions, the State of Ohio argues that its liens had priority

over the liens listed in the preliminary judicial report, including the liens of the United States, because they

relate to personal obligations of the Beers. The State of Ohio contends that the Beers cannot use the land

held in trust to satisfy their personal debts.

            On December 6, 2004, the United States requested an extension of time to respond to the briefs

from the Mission and State of Ohio on the issue of establishing priority of the remaining liens.

            Two days later, on December 8, 2004, rather than briefing the issue of the priority of its respective

interests, the United States filed its notice of removal. [Doc. No. 1]. The United States requests this Court

to determine the order of priority of the liens of the United States, the Mission, and the State of Ohio, even



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though the United States conceded in state court that the Mission’s lien had priority after the Stark County

treasurer’s lien.

        On January 7, 2005, the Ohio Attorney General and the Mission each filed a motion to remand the

case to the Court of Common Pleas, Stark County. [Doc. No. 4]. On January 19, 2005, the United

States filed its opposition to the two motions to remand. [Doc. No. 7]. On February 24, 2005, the Mission

filed a motion to stay. [Doc. No. 11].

                                         II. LEGAL STANDARD

        The party seeking to remove a case to federal court bears the burden of demonstrating the right

to removal. Her Majesty the Queen in Right of the Province of Ontario v. City of Detroit, 874 F.2d

332, 339 (6th Cir. 1989). “It is well-settled that the removal statutes are to be construed restrictively and

any doubts as to removability are resolved in favor of remanding the case to state court.” Groesbeck

Invs., Inc. v. Smith, 224 F. Supp. 2d 1144, 1148 (E.D. Mich. 2002) (remanding as an untimely the

United States’ notice of removal). “All doubts as to the propriety of removal are resolved in favor of

remand.” Coyne ex rel. Ohio v. Am. Tobacco Co., 183 F.3d 488, 493 (6th Cir. 1999). The statutes

conferring removal jurisdiction are construed strictly because “removal jurisdiction encroaches on state

jurisdiction, and the interests of comity and federalism require that federal jurisdiction be exercised only

when it is clearly established.” Holston v. Carolina Freight Carriers Corp., No. 90-1358, 1991 U.S.

App. LEXIS 14129, at *7-8 (6th Cir. June 26, 1991) (unpublished opinion).

                                            III. DISCUSSION

        In their motions to remand, the Ohio Attorney General and the Mission argue that the case should



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be remanded because the notice of removal is untimely pursuant to 28 U.S.C. § 1446(b).

        In contrast, the United States argues that its notice of removal is proper. The United States

contends that it has an unconditional right to remove foreclosure actions to federal court. Furthermore, the

United States asserts that the notice of removal is timely because Plaintiff Ziegler improperly served the

United States, even though the United States filed its removal notice more than twelve months after

appearing in state court.

        A. Thirty-Day Removal Period

        The United States argues that it has an unconditional right to remove their foreclosure action

pursuant to 28 U.S.C. § 1444. While the United States may remove a foreclosure action to federal court,

the United States must comply with the removal procedures in 28 U.S.C. § 1446(b). See, e.g., Mortgage

Elec. Registration Sys. v. Rothman, No. 04 C 5340, 2005 U.S. Dist. LEXIS 12270, at ** 14-15 (N.D.

Ill. Feb. 28, 2005); Groesbeck Invs., Inc., 224 F. Supp. 2d at 1148; Fred Berglund & Sons, Inc. v. CDI

& Assoc., Inc., No. 91 C 928, 1991 U.S. Dist. LEXIS 6186, at ** 5-6 (N.D. Ill. May 6, 1991);

Emporium Trust Co. v. Dolaway, 205 F. Supp. 280, 281-82 (M.D. Penn. 1961). The removal

procedures apply to this case, including the rules governing timeliness.

        A defendant must file a notice of removal within thirty days after the defendant receives an initial

pleading “through service or otherwise.” 28 U.S.C. § 1446(b). To trigger the thirty-day removal period,

either service of process or waiver thereof is required. Murphy Bros., Inc. v. Michetti Pipe Stringing,

Inc., 526 U.S. 344, 350-51 (1999). “A defendant’s failure to comply with the thirty-day limitation set forth

in Section 1446(b) is an absolute bar to removal regardless of whether the removal would have been



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proper if timely.” Groesbeck Invs., Inc., 224 F. Supp. 2d at 1148. The right of removal “‘is given only

to a defendant who promptly avails himself of the right at the time of appearance, by declining to plead and

filing his petition for removal.’” J.L. McGuire & Assocs. v. Innovative Ceramics, Inc., 63 F. Supp. 2d

841, 843 (N.D. Ohio 1999) (quoting West v. Aurora City, 73 U.S. 139, 142 (1867)).

        B. Service by Certified Mail

        Given that the thirty-day removal period applies to this case, the United States asserts that the

removal period has not begun because service was improper. Under this theory, the United States

contends that its notice of removal was timely, even though the United States failed to raise the affirmative

defense of insufficiency of service of process and actively litigated in the state court action for more than

twelve months. However, this argument is not persuasive.

        The parties agree that service was ineffective. To effect service upon the United States in a

foreclosure action, a plaintiff must serve the United States Attorney in person and the Attorney General by

certified mail. 28 U.S.C. § 2410(b); Scottsdale Ins. Co. v. English Furniture Indus., Inc., No. IP 97-

1380-C-T/G, 1997 U.S. Dist. LEXIS 23082, at *9-10 (S.D. Ind. Oct. 17, 1997).

        Plaintiff Ziegler did not follow the service requirements of 28 U.S.C. § 2410(b). The United States

could have challenged such service for insufficiency of service of process, but it did not raise the affirmative

defense in its responsive pleading, or in any of its subsequent proceedings. In waiving its defense, the

United States submitted to personal jurisdiction of the state court.

        C. Waiver

        Because the United States waived the defense of insufficiency of service of process, the Court



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holds that the United States notice of removal was untimely. The Court agrees with the Mission and the

State of Ohio that remand is proper in this case.

        In Ohio, a defendant waives the defense of insufficiency of service of process is waived, unless the

defendant raises it in a responsive pleading or motion. Ohio Civ. R. 12(H)(1). When a defendant has not

been properly served, a court may obtain jurisdiction over the defendant by “the voluntary appearance and

submission of the defendant or his legal representative, or by certain acts of the defendant or his legal

representative whichconstitutes an involuntary submission to the jurisdiction of the court,” which“maymore

accurately be referred to as a waiver of certain affirmative defenses.” Maryhew v. Yova, 11 Ohio St. 3d

154, 156, 464 N.E.2d 538 (Ohio 1984). Indeed, “[p]articipating in the litigation prior to asserting defense

does constitute a waiver of the defense.” Holloway v. Gen. Hydraulic & Mach., Inc., 2003 Ohio 3965

(Ohio Ct. App. 2003); see also Kvinta v. Kvinta, 2003 Ohio 2884 (Ohio Ct. App. 2003) (holding that

filing three written motions without filing a separate Rule 12(b) motion to dismiss for insufficient service

waived the jurisdictional defense, and the defendant voluntarily submitted to the court’s jurisdiction); Joseph

v. Lastoria, No. CA88-05-040, 1988 Ohio App. LEXIS 4323, at **3-5 (Ohio Ct. App. Oct. 31, 1988)

(finding “clear intent to appear and defend on the merits, thereby waiving his right to complain of insufficient

service of process” because the defendant served a request for production of documents one day before

filing a responsive pleading, which asserted the defense of improper service).

        In this case, the United States waived the affirmative defense of insufficiency of service of process

in state court by failing to raise it in a responsive pleading or motion. 1/ In so doing, the United States

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             The outcome is the same under the Federal Rules of Civil Procedure.   In failing to raise the defense of
                                                                                                        (continued...)



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displayed clear intent to appear and defend on the merits, which submitted it to the jurisdiction of the state

court. The United States raised other defenses in its filings, but the United States did not raise its defense

of insufficiency of service of process. Even after the state court found that the all of the parties were

properly served, the United States did not object.2/ In waiving the defense of insufficiency of service of

process in state court, the United States cannot now raise defective service to excuse its untimely notice

of removal.

         The United States has the right to remove a foreclosure action to federal court, but the statute does

not require the United States to do so, nor does it confer exclusive jurisdiction to federal courts over this

type of claim against the United States. See 28 U.S.C. § 2410; 28 U.S.C. § 1444. Rather, jurisdiction

over foreclosure actions is concurrent among state and federal courts. Thus, the United States has the

discretion to determine the cases in which it litigates in state court versus the cases that it removes the action

to federal court.

         In addition to waiving the defense of insufficiency of service of process, the United States actively

litigated the merits of its priority claim in state court for more than twelve months, seeking a determination

that its liens had priority over those of the State of Ohio. This action was immediately removable because


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            (...continued)
insufficiency of service of process, the United States waived its complaint regarding defective service. Fed. R. Civ. P.
12 (h)(1); see, e.g., INVST Fin. Group, Inc. v. Chem-Nuclear Sys., Inc., 815 F.2d 391, 403 (6th Cir. 1987) (“The motion to
dismiss for insufficiency of service of process had clearly been waived and was expressly prohibited as untimely.”), cert.
denied, 484 U.S. 927 (1987); see also Mattingly v. United States, 939 F.2d 816, 817 (9th Cir. 1991) (holding that the Federal
Rules of Civil Procedure apply to the United States as a litigant).

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             The state court entered a judgment degree on February 23, 2004, which stated: “The court finds that it has
jurisdiction over the persons and subject matter of this action. The court further finds that all parties in interest have
been duly served with summons according to law and are properly before this court.” The judgment entry bears the
signature of Assistant United States Attorney Steven Paffilas.



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it is a foreclosure action brought against the United States. See 28 U.S.C. § 1444. Rather than remove

the case to federal court, the United States availed itself of the state forum by actively participating in the

Stark County action, including filing a motion for supplemental judgment entry and amended order of

distribution.

        Such active participation, for more than one year, after waiving defective service, unquestionably

constitutes waiver of defective service and acquiescence to state court jurisdiction under Ohio law. See

Joseph v. Lastoria, No. CA88-05-040, 1988 Ohio App. LEXIS 4323, **3-5 (Ohio Ct. App. Oct. 31,

1988); Fred Berglund & Sons, Inc. v. CDI & Assoc., Inc., No. 91 C 928, 1991 U.S. Dist. LEXIS

6186, at **9-11 (N.D. Ill. May 6, 1991) (remanding the United States’ notice of removal because the

notice of removal was untimely and the United States actively participated in the state action). After it was

apparent that this case was removable, the United States’ actions manifest its intent to have the case

adjudicated in state court and abandon its right to a federal forum. The United States’ actions were entirely

inconsistent with the right to remove.

        Moreover, this case is distinguishable from Keybank Nat’l Ass’n v. Norton, No. 03-CV-2010

(N.D. Ohio Oct. 31, 2003), where this Court denied a motion to remand in a foreclosure case. In this

case, unlike Norton, the United States waived its defense of insufficiency of service of process in state

court and subsequently litigated the merits of its priority claims for more than one year.

        Finally, removal of this case could suggest the appearance of forum shopping -- namely, that a party

who is dissatisfied with a determination of the state court could try federal court instead. See Fred

Berglund & Sons, Inc. v. CDI & Assocs., Inc., No. 91 C 928, 1991 U.S. Dist. LEXIS 6186, at ** 10-



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11 (N.D. Ill. May 6, 1991). In this case, the state court granted summary judgment on behalf of Plaintiff

Ziegler and found that Stark County Treasurer’s interest had priority. Because the United States and the

State of Ohio agreed that the Mission had priority after the Stark County Treasurer, the sole remaining

issue was whether the United States or the State of Ohio had priority after the Mission. Here, the state

court indicated that it would determine the priority of the liens upon receiving briefs from the parties on the

issue of priority. Instead of submitting its brief per the state court’s request, the United States filed its notice

of removal. The Court does not know whether the United States, in removing this case, believed that its

interests would be better received in federal court. Having waived any defense of insufficiency of process

and to avoid the appearance of forum shopping after seeking a merits determination from the state court,

remand is appropriate.

                                              IV. CONCLUSION

        The State of Ohio and the Mission’s Motions for Remand are GRANTED and this case is

remanded to the Court of Common Pleas, Stark County, Ohio for all further proceedings. Accordingly,

the Mission’s Motion to Stay is DISMISSED as moot.

        IT IS SO ORDERED.




Dated: August 22, 2005                                        s/       James S. Gwin
                                                              JAMES S. GWIN
                                                              UNITED STATES DISTRICT JUDGE




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